Case 1:15-cv-00391-JTN-PJG ECF No. 24 filed 10/16/20 PageID.1486 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 EUGENIA L. BODIFORD,

        Plaintiff,
                                                                  Case No. 1:15-cv-391
 v.
                                                                  HON. JANET T. NEFF
 COMMISSIONER OF SOCIAL SECURITY,

       Defendant.
 ________________________________/

              ORDER APPROVING REPORT AND RECOMMENDATION

       This is a civil action filed pursuant to 42 U.S.C. § 405(g). Plaintiff filed an unopposed

motion for attorney fees (ECF No. 22). The matter was referred to the Magistrate Judge, who

issued a Report and Recommendation on September 18, 2020, recommending that this Court grant

the motion and Attorney Marcus be awarded $9,997.50. In addition, the Magistrate Judge

recommended that Plaintiff’s counsel be ordered to refund to Plaintiff the $6,610.75 previously

awarded in EAJA fees. The Report and Recommendation was duly served on the parties. No

objections have been filed pursuant to 28 U.S.C. § 636(b)(1)(C). Accordingly:

       IT IS HEREBY ORDERED that the Report and Recommendation of the Magistrate

Judge (ECF No. 23) is APPROVED and ADOPTED as the opinion of the Court.

       IT IS FURTHER ORDERED that the unopposed motion for attorney fees (ECF No. 22)

is GRANTED for the reasons stated in the Report and Recommendation. Attorney Marcus is

awarded $9,997.50.

       IT IS FURTHER ORDERED that Plaintiff’s counsel shall refund to Plaintiff the

$6,610.75 previously awarded in EAJA fees.


Dated: October 16, 2020                                     /s/ Janet T. Neff
                                                          JANET T. NEFF
                                                          United States District Judge
